                            Juan Lozada-Leoni
Case 4:20-cv-00068-RWS-CMC Document           - June
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      Job No. 2929355

    1                       BEFORE THE U.S. DEPARTMENT OF LABOR

    2     In the matter of:                    )

                                               )

    3     JUAN LOZADA-LEONI,                   )

                       Complainant,            )

    4                                          )

          V.                                   ) Case No. 2018-SOX-00004

    5                                          )

          MONEYGRAM INTERNATIONAL,             )

    6                  Respondent.             )

    7

    8       ***************************************************************

    9                                  ORAL DEPOSITION OF

   10                                  JUAN LOZADA-LEONI

   11                                     JUNE 19, 2018

   12                                         VOLUME 2

   13     ***************************************************************

   14           ORAL DEPOSITION OF JUAN LOZADA-LEONI, produced as a witness

   15     at the instance of the Respondent, and duly sworn, was taken in

   16     the above-styled and numbered cause on the 19th day of June,

   17     2018, from 9:59 a.m.        to 3:00 p.m., before AMBER KIRTON, CSR in

   18     and for the State of Texas, reported by machine shorthand, at the

   19     Law Offices of Juan Antonio Lozada, PLLC, 3305 W. Slaughter Lane

   20     #2, Austin, Texas, pursuant to the Federal Rules of Civil

   21     Procedure.

   22

   23

   24

   25

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                            Juan Lozada-Leoni
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    1     of the lawyers, to contribute to -- so she would pay the taxes,

    2     she would pay everything and then I will pay her everything --

    3     one-third of everything.         So that's what that's about.

    4             Q.      Okay.   So going back down the page, and I apologize for

    5     skipping around, there is an entry for wages of $36,608.70.               Do

    6     you see that?

    7             A.      Yes.

    8             Q.      Did you pay yourself a wage out of the income from your

    9     law office or was that for somebody else?

   10             A.      No, it was -- no, I pay a very small income for myself

   11     because I wasn't sure if I was going to be making a profit.               I

   12     had a legal assistant I paid some money to, like a paralegal

   13     type.        She wasn't really a legal assistant.         It was more like a

   14     paralegal.        And then we have a legal secretary that we pay.

   15             Q.      And then on the second page there is a line item for

   16     returns of $5,700.         Do you know what that is?

   17             A.      That's money I have to return.       So I will do -- I will

   18     tell you it's going to cost you $2,000 to do this but I only use

   19     1,000 so I will give you back the money that I didn't use if we

   20     were already finished with your work.            So I keep that in my old

   21     account and whenever -- you know, so that's that.

   22             Q.      So basically refunds of amounts that have been prepaid

   23     that didn't end up costing that much?

   24             A.      Exactly.

   25             Q.      And so at the end of the day at the middle of Page 2

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